 Case 3:19-cv-00764-X Document 127 Filed 07/03/19     Page 1 of 29 PageID 3628



                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VEROBLUE FARMS USA INc.,               §
      ~~~ff                            §
                                       §
 v.                                    §
                                       §
LESLIE A. WULF, BRUCE A. HALL, JAMES   §
REA, JOHN REA, and KEITH DRIVER,       §
      DefendantslFounders              §      CIVIL ACTION No.3: 19-cv-00764-L
                                       §
 v.                                    §
                                       §
EVA EBSTEIN, JENS HAARKOETIER, BJORN   §
THELANDER, ANDERS WESTER, NORMAN       §
MCCOWAN, DR. aITO HAPPEL and ALDER     §
AQUA, LTD.                             §
      Third-Party Defendants           §




THIRD-PARTY PLAINTIFFS' RESPONSE AND BRIEF IN OPPOSITION TO THIRD-
  PARTY DEFENDANT NORMAN MCCOWAN'S MOTION TO DISMISS THIRD-
 PARTY CLAIMS PURSUANT TO THE TEXAS CITIZEN'S PARTICIPATION ACT
   Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                          Page 2 of 29 PageID 3629


                                              TABLE OF CONTENTS
INTRODUCTION .......................................................................................................................... 4
BACKGROUND FACTS ............................................................................................................... 5
ARGUMENTS AND AUTHORITIES .......................................................................................... 5
   I.     THE TCPA DOES NOT APPL Y IN FEDERAL COURT................................................. 6
        A. The TCPA is a Procedural Statute and Therefore Does Not Apply in Federal Court...... 7
        B. The TCPA Does Not Apply Because It Conflicts with Federal Procedure ..................... 9
   II. THE TCPA DOES NOT BAR FOUNDERS' CLAIMS . .................................................. 10
        A. McCowan Fails to Show that Founders' CIl;lims Implicate His First Amendment Rights
           ........................................... ............. ............................................... 11
           1.     McCowan Fails to Show His Conduct was an Exercise of Freedom of Speech ........ 12
           2.     McCowan Fails to Show His Conduct was an Exercise of the Right to Petition ....... 15
        B. Founders Describe Clear and Specific Facts to Establish a Prima Facie Case for Each
           Essential Element of Their Claims .............................................................. ..................... 16
   III.         REQUEST FOR ATTORNEY'S FEES ......................................................................... 17
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                                                        Page 3 of 29 PageID 3630




                                                         TABLE OF AUTHORITIES
Cases

Adams v. Starside Custom Builders, LLC.
  547 S.W.3d 890 (Tex. 2018) ... ....... .. .......................... .......... ............... ............. .. ............... ............ .... ................ ....... 14
All Plaintiffs v. All Defendants.
  645 F.3d 329 (5th Cir. 2011) ................................................................................................................................. . 7.9
Allen v. Heath.
  2016 WL 7971294 (E.D. Tex. May 6. 20 16) ................... ........ ....................... .... ....................................................... 7
Block v. Tanehaus.
  867 F.3d 585 (5th Cir. 2017) ... .......... .................... ... ..... ............................................................. ... ...................... ....... 6
Brugger v. Swinford.
  2016 WL 4444036 (Tex. App. - Houston [14th Dist.] Aug. 23.2016. no pet... .... ...... ....... ..................................... 13
Bumjin Park v. Suk Baldwin Props., LLC.
  2018 WL 4905717 (Tex. App. - Austin Oct. 10. 2018. no pet.) .......................................................... ................ ... . 13
Burlington N. R.R. Co. v. Woods.
  480 U.S. I (1987) ....................... .. ....................... .......... .... ......... ........ ................ ........................................................ 9
Cl/ba v. Pylant.
  814 F.3d 701 (5th Cir. 2016) ............. .. ...................... ........ .. ....................................... ............................................ 8.9
Dyer v. Medoc Health Servs., LLC.
  2019 WL 1090733 (Tex. App. - Dallas Mar. 8. 2019. pet. filed) ............................................................................ 13
Fawcett v. Rogers.
  492 S.W.3d 18 (Tex. App. - Houston [1st Dist.] 2016) ... ........ ... .......... ... .................................... ........ ...... ...... ... . 8, 17
Gasperini v. Ctr. For Humanities, Inc .•
  518 U.S. 415 (1996) ..... .. ... ............... ............ ...... ....... ......... ...... .................... .......................................................... .... 7
Henry v. Lake Charles Am. Press, LLC.
  566 F.3d 164 (5th Cir. 2009) ..... ................................................... ........ ..... ................. ................. ............................. 10
In re IntelliCentrics, Inc .•
  2018 WL 5289379 (Tex. App. - Fort Worth Oct. 25. 2018. orig. proceeding ....... ................. ............. .................... 13
In re Lipsky.
  460 S.W.3d 579 (Tex. 2015) .......... .. ... .................... .. .. ... ....... ....... ...... .......................... .. ...................................... 9. II
Ins. Safety Consultallfs LLC v. Nugent.
  2016 WL 2958929 (N.D. Tex. May 23. 2016) ................................ ........... ... ...... ... ... ..... ........... ....... ...... ...... ........ .. 6.9
Lona Hills Ranch, LLC v. Creative Oil & Gas Operating, LLC.
  549 S.W.3d 839 (Tex. App.-Austin 2018, pet. filed) ...... ......... ..... ..... ........ ............ ............ ......... .. .. .............. ....... . 15
Mathiew v. Subsea 7 (US) LLC,
  2018 WL 1515264 (S.D. Tex. Mar. 9, 2018) ................................................................................................. 7, 10, 12
N.P. u., Inc., d/b/a NE Plus Ultra and Casey McKee v. Wi/son Audio Specialties, Inc.,
  2018 WL 5504239 (W.D. Tex. Oct. 29, 2018) ......... ........ ..................... ......................... ..... ......... ............... 7,8,9, 10
NCDR, LLC v. Mauze & Bagby, P.L.L.c.,
  745 F.3d 742 (5th Cir. 2014) .................. ................... ........................ ....... ............ ..................... .... ...................... .... ... 6
Neely v. Wi/son,
  418 S.W.3d 52 (Tex. 2013) ............. .. ................... ......... ......................... ......... .. ... ........ ....... ............ ... ...................... 13
O'Gara v. Binkley,
  2019 WL 1864099 (N.D. Tex. Apr. 24, 2019) .. .................. .... .. .............................................................................. ... 8
Rudkin v. Roger Beasley Imports, Inc.,
  2017 WL 6622561 (W.D. Tex. Dec. 28, 2017) ................... ............ ............................. ............. ............................. 7.8
Sullivan v. Tex. Ethics Comm .•
  551 S.W.3d 848 (Tex. App. - Austin 20 18) .... .......... ............................... ..... ......... ...... ..... .. ............ ........................ 18
Thoroughbred Ventures, LLC v. Disman.
  2018 WL 3472717 (E.D. Tex. July 19. 2018) ............ ...... ................... ........................ ................ ...... ......................... 7
Warner Bros. Ellfertainment, Inc. v. Jones,
  538 S.W.3d 781 (Tex. App. - Austin 2017) ....... ... ......... .. ... .... ......... .... ................... ... ................... ..................... 12,17
Younkin v. Hines,


                                                                                          1
 1450916vl - Y0265.00001 Motion to Dismiss TOA
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                                                                       Page 4 of 29 PageID 3631


   546 S.W.3d 675 (Tex. 2018) .......... .. ... ............. .... .......... ... .. ....... .. ... ... .... .... ......... ..... .. ......... ..... ...... .... .. .... ......... .... ... 14

Statutes

Tex. Ci v. Prac. & Rem. Code Ann. § 27.005 .................... ... ......... ................................. ............. ................................ 17
Tex. Civ. Prac. & Rem. Code Ann. § 27.005(c) ................ ...... ........ ......................... ..... .............. ... ... ...................... 9. 11
Tex. Civ. Prac. & Rem. Code § 27.001(3) .............. .... ..... .......... ... ...... ............................... .... .................................. ... 12
Tex. Civ. Prac. & Rem. Code § 27.002 ........... .... ... ................ .................................. ...... ................................... 6. 11. 12
Tex. Civ. Prac. & Rem. Code § 27.005(b) .... .... ..... .. ............ ........ .......... .............. .. ... ....... ........ ......... ......... ... ........ 11.15
Tex. Civ. Prac. & Rem. Code § 27.009(a) ...... .. ............................. .. ........ ............ ............ ..... ......... ....... ...................... 17

Rules

Federal Rule of Civil Procedure 12(b)(6) ........................... ........ .......................................... ......................... 3.9.10.12
Federal Rules of Civil Procedure 12 and 56; and (2) ........ ..... .. ......... .. ................................................................. Passim

Other Authorities

H.B. 2730 .................. ... ... ...... .......................... ... ..... ....... ........... ... ............................... ... .. ...... .... ...................... ........... 13
HB2730 ............... ... ........ .. .. .. ... .............. ......... .. ..... .. ...... .... ..... ... .......... ... ....... ......... .. ................. ... ..... ... ............... ..... ... 14




                                                                                                     2
14509 16vl - Y0265 .00001 Motion to Dismiss TOA
  Case 3:19-cv-00764-X Document 127 Filed 07/03/19                          Page 5 of 29 PageID 3632


                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

VEROBLUE FARMS USA INc.,                              §
       ~~~ff                                          §
                                                      §
  v.                                                  §
                                                      §
LESLIE A. WULF, BRUCE A. HALL, JAMES                  §
REA, JOHN REA, and KEITH DRIVER,                      §
   DefendantslFounders                                §          CIVIL ACTION NO. 3: 19-cv-00764-L
                                                      §
  v.                                                  §
                                                      §
EVA EBSTEIN, JENS HAARKOETIER, BJORN                  §
THELANDER, ANDERS WESTER, NORMAN                      §
MCCOWAN, DR. OlTO HAPPEL and ALDER                    §
AQUA,LTD.                                             §
   Third-Party Defendants                             §




THIRD·PARTY PLAINTIFFS' RESPONSE AND BRIEF IN OPPOSITION TO THIRD·
  PARTY DEFENDANT NORMAN MCCOWAN'S MOTION TO DISMISS THIRD·
 PARTY CLAIMS PURSUANT TO THE TEXAS CITIZEN'S PARTICIPATION ACT


         Third-Party Plaintiffs, Leslie A. Wulf ("Wulf'), Bruce A. Hall ("Hall"), John E. Rea ("T.

Rea"), and James Rea ("J. Rea") (collectively "Founders"), file this Response and Brief in

Opposition to Third-Party Defendant Norman McCowan's ("McCowan") Motion to Dismiss the

Third-Party Claims Pursuant to the Texas Citizen's Participation Act ("Motion to Dismiss" or

"MTD"). I In further support of this Response, Founders state:




1 This is the second of two Motions to Dismiss that McCowan has filed against Founders' Third-Party Claims [Dkt.

No. 114]. McCowan also filed a Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). [Dkt. No.
113] . This Response addresses McCowan's TCPA Motion only and Founders have filed concurrently a separate
response to McCowan's 12(b)(6) Motion.

                                                          3
14S0916vl • V026S.00001 Motion to Dismiss TOA
  Case 3:19-cv-00764-X Document 127 Filed 07/03/19                 Page 6 of 29 PageID 3633


                                                INTRODUCTION

        In their Third-Party Complaint ("TPC"), Founders allege that McCowan and the other

Third-Party Defendants tortiously interfered with various agreements ("Agreements") between

Founders and Plaintiff, VeroBlue Farms USA, Inc. ("VBF"). Founders have uncovered some

communications that illustrate Eva Ebstein ("Ebstein"), Jens Haarkoetter ("Haarkoetter"), Bjorn

Thelander ("Thelander"), Anders Wester ("Wester"), McCowan, Dr. Otto Happel ("Happel") and

Alder Aqua, Ltd ("Alder") (collectively, "Alder Defendants"), conspired together to induce VBF

to breach the Agreements with Founders and avoid obligations due under the Agreements.

         Now that the Alder Defendants scheme has been uncovered, McCowan attempts to hide

behind the Texas Citizens Participation Act ("TCPA"). McCowan's Motion to Dismiss must be

denied for two reasons: (1) Texas federal courts, including the Northern District, have consistently

held that the TCPA is inapplicable in federal court because (a) it is a procedural mechanism, not

substantive, and (b) the TCPA conflicts with Federal Rules of Civil Procedure 12 and    56~   and (2)

even if the TCPA were substantive and not in conflict with the Federal Rules, the Alder

Defendants' conduct is not protected speech or a protected right to petition - it is tortious

interference with contract. Accordingly, McCowan's Motion to Dismiss must be denied.

         From at least September 2017 (the date Alder Defendants approached Wulf and directed

him to terminate Hall and T. Rea), the Alder Defendants orchestrated a scheme and made

materially false and misleading statements in order to avoid obligations due to Hall under his

Termination Agreement ("Hall Agreement"), T. Rea under his Termination Agreement ("T. Rea

Agreement"), Wulf under his Separation Agreement ("Wulf Agreement") and J. Rea under his




                                                      4
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                    Page 7 of 29 PageID 3634


Employment Agreement ("J. Rea Agreement"). The Founders suffered damages as a result of the

Alder Defendants' misconduct.

         McCowan has moved to dismiss Founders' claims under the TCPA. By invoking the

statute, McCowan is not only ignoring numerous cases dictating that the TCPA is inapplicable in

federal court, but is also implicitly arguing that the Alder Defendants' misconduct is somehow free

speech on a matter of public concern, and that Founders' suit is designed to chill expression. The

Alder Defendants were not exercising their right to free speech when they tortiously interfered

with Founders' Agreements, they were scheming to avoid complying with contractually bargained

for payments. If this suit is subject to the heightened standards of the TCPA, then all suits involving

speech, of any kind, are vulnerable to dismissal. That is not the law in Texas, and that is not the

law that should be applied to this case.

                                                BACKGROUND FACTS

         Founders expressly incorporate the facts as set forth in their Answer and Affirmative

Defenses to the Amended Complaint and Third-Party Claims ("Complaint"), filed on April 10,

2019 [Docket No. 66].

                                    ARGUMENTS AND AUTHORITIES

         The Court should deny McCowan's Motion to Dismiss. First, the TCPA is inapplicable in

a federal court sitting in diversity. The TCPA does not create a substantive rule of Texas law and

is clearly a procedural mechanism for a quick dismissal of a meritless lawsuit that infringes upon

First Amendment protections. Second, even if the TCPA were substantive, it would unquestionably

conflict with the pre-trial dismissal mechanisms of Federal Rules of Civil Procedure 12 and 56,

and therefore be ineffectual in federal court. Third, McCowan has the burden to establish, by a

preponderance of the evidence, that Founders' claims are "based on, relate to, or in response to"



                                                       5
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                     Page 8 of 29 PageID 3635


an exercise of their rights to free speech, right to petition, or right of association. McCowan's

Motion to Dismiss fails to satisfy this burden. Among other infirmities, McCowan recognizes that

an exercise of free speech means a communication made in connection with a matter of public

concern, but fails to distinguish how his actions in any way amount to such a public concern.

Finally, even if the TCPA does apply to this case, Founders have shown by "clear and specific

evidence" a prima facie case for the elements of their claims. In addition to the detailed factual

allegations in their Third-Party Claims, which must be considered as evidence in support of their

prima facie case, Founders provide facts in the evidence attached to their Complaint. Accordingly,

this Court should deny McCowan's Motion to Dismiss.

  I.     THE TCPA DOES NOT APPLY IN FEDERAL COURT.

         McCowan claims that the TCP A mandates dismissal in this case. This argument fails

because the TCPA does not apply in federal court, as it is procedural, not substantive. Even if it

were substantive, it would still not apply because it conflicts with federal procedural rules.

         The TCPA is an anti-SLAPP ("Strategic Litigation Against Public Participation") statute

that is designed to "encourage and safeguard the constitutional rights of persons to petition, speak

freely, associate freely, and otherwise participate in government to the maximum extent permitted

by law and, at the same time, protect the rights of a person to file meritorious lawsuits for

demonstrable injury." TEX. CIV. PRAC. &          REM.   CODE § 27.002. (emphasis added). "To achieve

this, the TCPA provides a means for a defendant, early in the lawsuit, to seek dismissal of certain

claims in the lawsuit." NCDR, L.L.c. v. Mauze & Bagby, P.L.L.c., 745 F.3d 742, 746 (5th Cir.

2014).

         Although the Fifth Circuit has not resolved whether state anti-SLAPP statutes such as the

TCPA apply in federal court, Block v. Tanehaus, 867 F.3d 585, 589 n.2 (5th Cir. 2017), this District


                                                    6
1450916v l - V0265.00001 Motion to Dismiss TOA
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                        Page 9 of 29 PageID 3636


Court (as well as other district courts in this Circuit) have held that the TCPA does not. See Ins.

Safety Consultants LLC v. Nugent, No.3: 13-CV-2183-B 2016 WL 2958929, at *5 (N.D. Tex. May

23,2016) (Boyle, J.) ("the only remedies the Act provides are dismissal and associated monetary

awards. The TCPA thus answers the question of when a party's claims are subject to pre-trial

dismissal. Federal Rules of Civil Procedure 12 and 56 answer the same question."f This is because

"under the Erie doctrine, federal courts sitting in diversity apply state substantive law and federal

procedural law." Gasperini v. Ctr. For Humanities, Inc., 518 U.S. 415, 427 (1996). Courts perform

a three-step analysis to determine whether a state's substantive law applied in federal court. All

Plaintiffs v. All Defendants, 645 F.3d 329, 333-36 (5th Cir. 2011). First, the court determines

whether the law is procedural or substantive in nature. Id. Second, ifthe law is deemed substantive,

the court must then determine whether the law conflicts with federal procedural rules. Id. Third, if

the law does not conflict with federal procedural rul€s, the court evaluates whether the law serves

to discourage forum shopping and avoid inequitable administration of the laws. Id.

         A.        The TCPA is a Procedural Statute and Therefore Does Not Apply in Federal
                   Court.


         In O'Gara v. Binkley, No. 3: 18-CV-2603-B, 2019 WL 1864099, at *1 (N.D. Tex. Apr. 24,

2019), a company brought claims against a company investor for defamation, tortious interference

with contract, tortious interference with business relations, and violation of unlawful and unfair

business practices law, based on allegations that the investor sent emails to other investors




2See also N.P.U., Inc., d/b/a NE Plus Ultra and Casey McKee v. Wilson Audio Specialties, IIIC., No. I: 18-CV-167-
RP, 2018 WL 5504239, at *4 (W.O. Tex. Oct. 29, 2018); Thoroughbred Ventures, LLC v. Dismall, No. 4:18-CV-
00318,2018 WL 3472717, at *3 (E.O. Tex. July 19,2018); Mathiew v. Subsea 7 (US) LLC, No. 4: 17-CV-3 140, 2018
WL 1515264, at *6-7 (S.D. Tex. Mar. 9, 2018); Rlldkin v. Roger Beasley Imports, Inc., No. A-17-CV-849-LY, 2017
WL 6622561, at *3 (W.O. Tex. Dec. 28, 2017), report and recommendation approved, No. A-17-CV-849-LY, 2018
WL 2122896 (W.O. Tex. Jan. 31, 2018); but see Allen v. Heath, No. 6:16-cv-51 MHS-IDL, 2016 WL 7971294, at *3
(E.D. Tex. May 6, 2016).

                                                       7
1450916vl - V0265 .00001 Motion to Dismiss TOA
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                               Page 10 of 29 PageID 3637


questioning the validity of the company president's academic credentials, and alleging

mismanagement of company. The investor moved to dismiss for failure to state a claim and for

dismissal under TCP A.

         In determining that the TCPA did not apply under the Erie doctrine, the Northern District

Court cited to Judge Graves dissent in Cuba v. Pylant, 814 F.3d 701, 711 (5 th Cir. 2016) (Graves,

J. dissenting).3 In his dissent, Judge Graves conducted his own Erie analysis and concluded that:

             the TePA is procedural and must be ignored. The TCPA is codified in the
             Texas Civil Practice and Remedies Code, provides for a pre-trial motion to
             dismiss claims subject to its coverage, establishes time limits for
             consideration of such motions to dismiss, grants a right to appeal a denial
             of the motion, and authorizes the award of attorneys' fees if a claim is
             dismissed. This creates no substantive rule of Texas law; rather, the TCPA
             is clearly a procedural mechanism for speedy dismissal of a meritless
             lawsuit that infringes on certain constitutional protections. Because the
             TCPA is procedural, I would follow Erie's command and apply the federal
             rules.
Id. at 719 (internal citations omitted). After Cuba, district courts in the Fifth Circuit have generally

agreed with Judge Graves view. 4 Courts have reasoned that the TCPA does not change Texas

substantive law; it merely changes the standard for dismissal. See Fawcett v. Rogers, 492 S.W.3d

18,25,27-28 (Tex. App. - Houston [1st Dist.] 2016) (even though the plaintiff's defamation claim

implicated rights protected by the TCP A, the court refused to dismiss the claim because the

plaintiff satisfied the TePA's unique pleading standard) (emphasis added); see also In re Lipsky,

460 S.W.3d 579, 586 (Tex. 2015) (the TCPA "provides a special procedure for the expedited

dismissal" of retaliatory lawsuits) (emphasis added).



3The majority in Cuba did not hold that the TCPA applies in federal court. Rather, the majority merely "assume[d],
without deciding," that the TCPA applied because "[n]either party contends that this matter should be resolved on
Erie grounds." Cuba, 814 F.3d at 706 n.6.

~ See, e.g., Rudkill, 2017 WL 6622561, at *3 ("Rather than restate the conclusions reached by Judge Graves and the
O.c. Circuit, the Court will instead simply adopt their analyses"); N.P. u., IIlC., V. Wilsoll Audio Specialties, IIlC., No.
1: 18-CV-167-RP, 2018 WL 5504239 (W.O. Tex. Oct. 29, 2018) ("The Court is persuaded by Judge Graves's analysis
and joins those district courts that have adopted it").

                                                             8
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                     Page 11 of 29 PageID 3638




         B.       The TCPA Does Not Apply Because It Conflicts with Federal Procedure.
         Even if the TCPA were substantive-and it is not-it still would not apply in federal court

because it directly conflicts with federal procedural rules. If "the scope of [a federal rule] is

sufficiently broad to cause a direct collision with the state law or, implicitly, to control the issue

before the court, thereby leaving no room for the operation of that law," the federal rule governs

and the state law is ignored. All Plaintiffs, 645 F.3d at 333 (internal quotations omitted; quoting

Burlington N. R.R. Co. v. Woods, 480 U.S. 1,4-5 (1987)).

         Here, the TCPA, as written, conflicts with several Federal Rules of Civil Procedure. For

example, to survive a TCPA well-pleaded motion to dismiss, a plaintiff must provide "clear and

specific evidence" for each element of a prima facie case. TEX. CIY. PRAC. & REM. CODE ANN. §

27.005(c). This requires evidence that is "unambiguous, sure, or free from doubt," "explicit or

relating to a particular named thing," and that "support[s] a rational inference that the allegation

of fact is true." In re Lipsky, 460 S.W.3d at 590. This "obviously conflicts" with Federal Rules of

Civil Procedure 12(b)(6) and 56, both of which allow claims to proceed to trial by surviving

scrutiny under lesser burdens of proof. N.P.U., 2018 WL 5504239, at *3 (quoting Cuba, 814 F.3d

at 719 (Graves, J., dissenting)); see also Ins. Safety Consultants LLC, 2016 WL 2958929, at *5

(Boyle, J.) (the TCPA conflicts with the Federal Rules, because the "TCPA ... answers the

question of when a party's claims are subject to pre-trial dismissal .... Federal Rules of Civil

Procedure 12 and 56 answer the same question"). Moreover, the TCPA's standard for dismissal

"is contrary to ... Rule 12(b)(6)," because "Rule 12(b)(6) looks only to whether the plaintiff has

alleged sufficient facts to state a claim that is plausible on its face," and, unlike the TCP A, "has no

mechanism to evaluate the merits of a party's defense." Mathiew, 2018 WL 1515264, at *7.




                                                   9
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                   Page 12 of 29 PageID 3639


        Exemplifying the direct conflict between the TCPA and the Federal Rules, McCowan tries

to make Founders satisfy a higher bar than what Rule 12(b)(6) requires. See MTD, p. 11

("McCowan is entitled to invoke the substantive protections of the TCPA and seek dismissal of

the Third-Party Claims unless the Third-Party Plaintiffs meet their burden to present "clear and

specific" evidence of a prima facie claim for tortious interference.") Even more telling is the fact

that McCowan filed his Rule 12(b)(6) Motion to Dismiss Third-Party Claims (Dkt. No. 113) the

day before he filed his Motion to Dismiss under the TCPA (Dkt. No. 114), forcing Founders to

respond to motions ~oth under the TCPA standard and the Federal 12(b)(6) standard. The fact that

Founders have to respond separately to both motions to dismiss illustrates perfectly that the TCPA

is in conflict with the Federal Rules.

         The few federal courts that have applied the TCPA (1) failed to "consider whether the

TCPA is substantive under the 'outcome determination' test or the 'twin aims' of Erie, which are

used in this circuit to determine whether a state rule of law is procedural of substantive" or (2)

relied on a Fifth Circuit case that applied Louisiana's anti-SLAPP statute but "did not analyze

whether the statute was procedural or substantive or whether it directly collided with federal law."

N.P.u., 2018 WL 5504239, at *3-4. McCowan's brief suffers from the same infirmity by citing

the pre-Cuba Fifth Circuit case, Henry v. Lake Charles Am. Press, LLC, 566 F.3d 164, 169 (5th

Cir. 2009), and then presenting an obviously flawed analysis attempting to couch the TCPA as

substantive rather than procedural. The more thorough and informed view is that the TCPA does

not apply in federal court. It is procedural and directly conflicts with the Federal Rules.

 II.     THE TCPA DOES NOT BAR FOUNDERS' CLAIMS.

         Even if it applied here, the TCPA would not bar Founders' well-supported claims. The text

of the TCP A states that its purpose is "to encourage and safeguard the constitutional rights of


                                                 10
1450916vl - V0265 .00001 Motion to Dismiss TOA
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                             Page 13 of 29 PageID 3640


persons to petition, speak freely, and otherwise participate in government to the maximum extent

permitted by law." TEX. CIV. PRAC. & REM. CODE ANN. § 27.002 (emphasis added). Yet McCowan

seeks to apply the statute to a dispute between private parties that implicates no Constitutional

issues. See also In re Lipsky, 460 S.W.3d at 589 (the statute's purpose is "not to dismiss meritorious

lawsuits," but to dispose of those designed "only to chill First Amendment rights").

          The TCP A sets out a two-step process for determining dismissal is warranted:

              Under the first step, the burden is initially on the defendant-movant to show
              "by a preponderance of the evidence" that the plaintiff s claim "is based on,
              relates to, or is in response to the [movant's] exercise of: (1) the right offree
              speech; (2) the right to petition; or (3) the right of association." Tex. Civ.
              Prac. & Rem. Code § 27.005(b). If the movant is able to demonstrate that
              the plaintiff s claim implicates one of these rights, the second step shifts the
              burden to the plaintiff to "establish [ ] by clear and specific evidence a prima
              facie case for each essential element of the claim in question." Id. §
              27.005(c).
Id. at 586-87. Nothing in the TCPA or McCowan's motion allows a private citizen like McCowan

to tortiously interfere with the contract of another private citizen.

     A.       McCowan Fails to Show that Founders' Claims Implicate His First Amendment
              Rights.

          Under the first step of the TCPA analysis, McCowan has the burden to show "by a

preponderance of the evidence" that Founders' claims are "based on, related to, or in response to

the [movant's] exercise of: (1) the right of free speech; (2) the right to petition; or (3) the right of

association." Id. at 586 (quoting TEX. ClV. PRAC. & REM. CODE ANN. § 27.005(b)). When

conducting the first step of the analysis, courts "examine all the pleadings and the evidence in the

light most favorable to the plaintiff." Warner Bros. Entertainment, Inc. v. Jones, 538 S.W.3d 781,

800 (Tex. App. - Austin 20 17) (citing cases ) (emphasis in original). 5



5 While this standard gives deference to the plaintiff, it differs from the Federal Rule l2(b )(6) standard because of
the requirement to consider all submitted evidence, rather than only the complaint and documents incorporated in
the complaint.

                                                           11
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                   Page 14 of 29 PageID 3641


                  1.        McCowan Fails to Show His Conduct was an Exercise of Freedom of
                            Speech.

         McCowan fails to adequately show that his conduct was an exercise of the freedom of

speech. '''Exercise of the right of free speech' means a communication made in connection with!

matter of public concern." TEX. CIv. PRAC. & REM. CODE § 27.001(3) (emphasis added). A

"[m]atter of public concern" includes an issue related to, among other things, "health or safety" or

"environmental, economic, or community well-being." /d. § 27.001 (7). While this definition might

seem broad when read in isolation, the statute should be read as a whole. Therefore, it should be

read in conjunction with § 27.002, which says the purpose of the statute is to encourage and

safeguard certain "constitutional rights." 1d. § 27.002.

         The right of free speech under the TCPA does not extend to "purely private acts and

concerns." Mathiew, 2018 WL 1515264, at *4. Regardless, McCowan now alleges that "providing

... opinions and advising [a] company ... as President. .. " invokes the constitutional protections of

the TCPA. (MTD, p. 12.) McCowan suggests that his speech relates not only to the economic well-

being of VBF, but also the well-being of the community or a good, product, or service in the

marketplace. (MTD, p. 12.) VBF is a private corporation wholly owned by a Canadian entity.

McCowan offers no argument for how in his role as President of VBF, or his statements regarding

the dismissal of employees, is in any way even tangentially related to a matter of public concern.

While Texas courts have held that e-mails regarding the provision of medical services by a health

care professional may constitute a matter of public concern, see Neely v. Wilson, 418 S.W.3d 52,

70 n. 12 & 26 (Tex. 2013), no such finding has been made regarding e-mails between corporate

executives and directors discussing how to invalidate properly executed employment and

termination agreements.




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1450916vl - V0265.00001 Motion to Dismiss TOA
    Case 3:19-cv-00764-X Document 127 Filed 07/03/19                        Page 15 of 29 PageID 3642


        Texas courts have overwhelmingly begun to curb what qualifies as a "public concern,"

especially in business disputes such as the one before this Court~ see Dyer v. Medoc Health Servs.,

LLC, No. 05-18-00472-CV, 2019 WL 1090733, at *5 (Tex. App. - Dallas Mar. 8, 2019, pet. filed)

(communications discussing allegedly tortious conduct are not tangentially related to a matter of

public concern simply because the information that was to be misappropriated belonged to a

company in the healthcare industry, or because the alleged tortfeasors hoped to profit from their

conduct)~   Bumjin Park v. Suk Baldwin Props., LLC, No. 03-18-00025-CV, 2018 WL 4905717, at

*3-4     (Tex.      App.            Austin      Oct.   10,    2018,   no    pet.)   (Mem.    Op.)   (claims

for tortious interference with contract and breach of contract were based on conduct and were

not within the TePA's purview) (emphasis                added)~   In re IntelliCentrics, Inc., No. 02-18-CV,

2018 WL 5289379, at *4 (Tex. App. - Fort Worth Oct. 25, 2018, orig. proceeding) (Mem. Op.)

(concluding TCPA "has its limits" and not every communication falls under protection of statute)~

Brugger v. Swinford, No. 14-16-00069-CV, 2016 WL 4444036, at *3 (Tex. App. - Houston [14th

Dist.] Aug. 23, 2016, no pet. (mem. op.) (concluding communications made in connection with

business dispute were not matter of public concern under TCP A).

          Consistent with these holdings, on June 2, 2019, Texas Governor Greg Abbott signed H.B.

2730 into law, an act with overwhelming bipartisan support. H.B. 2730 amends the TCPA to

modify the definition of a "matter of public concern" by removing the nonexhaustive list of

categories that were deemed matters of public concern and replacing it with more generalized

defining terms like "a subject of concern to the public." See Exhibit A. 6 Under this new standard,

which was specifically intended to curb the obscene uses of the TCPA, McCowan cannot possibly




6  TX HB2730 I 2019-2020 I 86th Legislature. (2019, June 02). LegiScan. Retrieved July 03, 2019, from
https://legiscan.com/TX/biII/HB2730/2019

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1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                    Page 16 of 29 PageID 3643


allege that his communications with the other Alder Defendants in any way, shape, or form, matter

to the public at large.

        Construing the definition of "public concern" in the TCPA to encompass McCowan's e-

mails with the other Alder Defendants would leave no communications outside the reach of the

TCPA, would not further the purpose of the TCP A to curb strategic lawsuits against public

participation, and would lead to an absurd result. See Younkin v. Hines, 546 S.W.3d 675, 679 (Tex.

2018) (noting appellate court must consider purpose of statute when construing application of

TCPA).

        McCowan's cursory argument relating to the "public concern" prong of the TCP A" relies

solely on a phrase from Adams v. Starside Custom Builders, LLC, 547 S.W.3d 890, 894 (Tex.

2018), reh'g denied (Jun. 22, 2018); MTD, p. 11. McCowan states this case stands for the

proposition that the TCPA "casts a wide net," and "[a]lmost any imaginable form of

communication, in any medium, is covered." MTD, p. 11. While Founders agree that e-mails are

a form of communication as defined by the TCPA, this does not mean that every e-mail ever

written contains a matter of public concern. McCowan's statement that:

              Any alleged inducement by McCowan would be based on, related to, or in
              response to McCowan's exercise of his rights to (1) free speech in providing
              his opinions and advising the company in his role as President of VBF ... in
              connection with a matter of public concern, i.e., economic and community
              well-being and also a good product, or service in the marketplace


is conc1usory, at best, and makes absolutely no attempt to inform Founders or this Court how

McCowan's conduct is even remotely related to a public interest. MTD, p. 12. The cursory way

in which McCowan conducts his analysis of "public concern" is telling. McCowan is aware his

communications had no bearing on any "economic well-being", and is not related to "a good,

product, or service in the marketplace," as the communications discuss attempts to renege on the


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1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                  Page 17 of 29 PageID 3644



properly executed Agreements. It contravenes the text and the purpose of the TCPA to suggest that

McCowan's conduct constituted communications on a "matter of public concern."


                   2.        McCowan Fails to Show His Conduct was an Exercise of the Right to
                             Petition.

         McCowan also contends that the TCPA applies to Founders' claims because "any alleged

inducement by McCowan would be based on, related to, or in response to McCowan's exercise of

his right to ... petition in authorizing filing with the courts ... " MTD, p. 12. McCowan offers no

rationale as to why Founders' Complaint stifles his right to petition, he simply cites to Lana Hills

Ranch, LLC v. Creative Oil & Gas Operating, LLC, 549 S.W.3d 839, 848 (Tex. App.-Austin

2018, pet. filed), reh'g denied (July 2, 2018) for the proposition that the exercise of the right to

petition under the TCPA includes a party's right to "initiate a lawsuit."

         Unfortunately for McCowan, as the movant, he must establish by a preponderance of the

evidence that the Founders' claims against him are based on, relate to, or are in response to his

exercise of the right to petition. See TEX. CIY. PRAC. & REM. CODE § 27.005(b). McCowan does

not allege that Founders' filed their Complaint in response to his exercise of his right to petition,

i.e., in response to his filing suit against them. In fact, McCowan himself did not initiate any

lawsuit, VBF initiated the lawsuit against Founders. VBF has no constitutional right to initiate a

lawsuit and McCowan cannot assert any such right on behalf of VBF. The Complaint does not and

did not impinge the Alder Defendants' right to petition, but instead addresses the Alder

Defendants' scheme to induce VBF to avoid its obligations under the Agreements.

         As evidence that they are attacking McCowan's (and the other Alder Defendants') conduct

and not his speech, Founders allege:




                                                   15
1450916vl - V0265 .00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                  Page 18 of 29 PageID 3645



    •    The Alder Defendants "intentionally used their multiple positions as directors ofVBF, and
         as representatives of Alder and Amstar to induce VBF, with the assistance of McCowan,
         to breach its obligations to [Founders] under their respective employment and
         severance agreements." Complaint, p. 16 (emphasis added);

    •    The Alder Defendants intentionally induced VBF to file suit against Hall in breach of
         Hall's Termination Agreement. .. " Complaint, p. 27, <J[ 60;

    •    "the Alder Defendants intentionally induced VBF to breach T. Rea's Termination
         Agreement. .. " Complaint, p. 28, <J[ 69;

    •    "the Alder Defendants intentionally induced VBF not to pay Wulf the remaining $300,000
         in payments and directed VBF not to pay Wulf's COBRA premiums, as required by the
         Separation Agreement." Complaint, p. 29, <J[ 77;

    •    "the Alder Defendants intentionally induced VBF to breach Wulf's Separation
         Agreement. .. " Complaint, p. 30, <J[ 80; and

     •   "the Alder Defendants intentionally induced VBF to breach J. Rea's Employment
         Agreement..." Complaint, p. 31, <J[ 89.


         The factual basis of Founders' claims is that the Alder Defendants conspired together to

tortiously interfere with Founders' respective Agreements and induce VBF to breach those

Agreements in a multitude of ways. McCowan has failed to establish the required nexus between

Founders' claims and conduct protected by the TCPA and thus fails to establish by a

preponderance of the evidence that the TPC is based on, related to, or in response to the Alder

Defendants' exercise of their right to petition as defined by the TCP A.


    B.        Founders Describe Clear and Specific Facts to Establish a Prima Facie Case for
              Each Essential Element of Their Claims.

         Even if McCowan somehow showed by a preponderance of the evidence that Founders'

claims are based on, relate to, or are in response to his exercise of the right of free speech or

petition, the TCPA provides that the "court may not dismiss" the action if the opposing party

establishes by "clear and specific evidence a prima facie case for each essential element of the



                                                 16
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                  Page 19 of 29 PageID 3646


claim in question." TEX. CIv. PRAC. & REM. CODE ANN. § 27.005; see also Fawcett v. Rogers, 492

S.W.3d at 27-28 (refusing to dismiss plaintiffs defamation claim even though the conduct

constituted an exercise of the right of association, because the plaintiff adequately pleaded the

claim). As set forth in their Response to McCowan's Rule 12(b)(6) Motion to Dismiss (Dkt. No.

113), Founders more than adequately alleged each element of their claims under Rule 12, either

within the allegations themselves or via the exhibits attached to the Complaint. Warner Bros.

Ent'mt, Inc. v. Jones, 538 S.W.3d 781, 799 (Tex. App. - Austin 2017). This Response, filed

concurrently herewith, is incorporated herein.


III.     REQUEST FOR ATTORNEY'S FEES

         The TCPA specifically provides for the movant to recover attorney's fees and costs, as well

as sanctions, if successful. See TEX. CIv. PRAC. & REM. CODE § 27.009(a). However, if the court

determines that the motion is frivolous or intended to delay, then the movant is required to pay the

respondent's attorneys' fees and costs. See id. at § 27.009(b). "The TCPA does not define

'frivolous,' but the word's common understanding contemplates that a claim or motion will be

considered frivolous if it has 'no basis in law or fact,'" see WEBSTER'S THIRD NEW lNT'L

DICTIONARY (2002) 913, "and 'lack[s] a legal basis or legal merit,'" see BLACK'S LAW

DICTIONARY (9th ed. 2009) 739. Sullivan v. Tex. Ethics Comm., 551 S.W.3d 848, 857 (Tex. App.

- Austin 2018).

         As detailed, McCowan's Motion to Dismiss has no basis in law because the TCP A does

not apply in federal court for the numerous reasons detailed above. Furthermore, McCowan's

Motion to Dismiss has no basis in fact as McCowan has failed to even attempt to show how his

communications with the other Alder Defendants, regarding their breaches of the Agreements,

constitute communications on "a matter of public concern," or how the Founders' filing the


                                                 17
1450916vl - V0265.00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                  Page 20 of 29 PageID 3647


Complaint was based on, related to, or was in response to McCowan's right to petition. As

previously discussed, McCowan has not filed suit in this case, and thus cannot invoke his right to

petition.

          McCowan's Motion to Dismiss is clearly frivolous and was intended solely to cause the

Founders to expend valuable time and resources responding to the baseless pleading. While the

TCPA does not apply in federal court, McCowan invoked the statute by filing this Motion to

Dismiss. This Court should not permit McCowan to attempt to use the TCPA as a sword and not

subject him to the remedial measures it provides when it finds his Motion to Dismiss frivolous.

Accordingly, the Founders would respectfully request this Court grant Founders their reasonable

and necessary attorneys' fees and costs.

                                                 CONCLUSION


          McCowan's attempt to hide behind the TCPA- a statute designed to ensure that free

speech is not chilled- that specifically does not apply in Federal Court-is one more action in a

course of shameful conduct. McCowan has assisted in damaging Founders in retaliation for

Founders reporting misconduct on the part of Jens Haarkoetter, and he should be held accountable.

The Court should conclude that the TCPA does not apply in this Court because the TCPA does not

create a substantive rule of Texas law and is clearly a procedural mechanism for a quick dismissal

of a meritless lawsuit, it unquestionably conflicts with the pre-trial dismissal mechanisms of

Federal Rules of Civil Procedure 12 and 56, McCowan has not made a showing that his conduct

qualifies as a "public concern" or that he has filed a petition (invoking his right to petition), and

Founders have shown by "clear and specific evidence" a prima facie case for the elements of their

claims.




                                                     18
1450916vl - V0265 .00001 Motion to Dismiss TOA
 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                  Page 21 of 29 PageID 3648


        In light ofthe foregoing, Founders pray that the Court deny McCowan's Motion to Dismiss

and grant such other and further relief, legal and equitable, including but not limited to an award

of attorneys' fees, to which Founders shows themselves entitled.


Date: July 3, 2019                              LESLIE WULF, BRUCE HALL,
                                                JOHN (TED) REA, JAMES REA


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                                                       Attorneys for Defendants, Leslie Wulf,
                                                       Bruce Hall, John (Ted) Rea, and James
                                                       Rea




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 Case 3:19-cv-00764-X Document 127 Filed 07/03/19                     Page 22 of 29 PageID 3649


                                         CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on July 3,2019 a true and correct copy of the above
and foregoing was served upon counsel of records for all parties via ECF Service.


                                                        lsi Eli D. Pierce
                                                        Eli D. Pierce




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1450916vl - V0265.00001 Motion to Dismiss TOA
Case 3:19-cv-00764-X Document 127 Filed 07/03/19   Page 23 of 29 PageID 3650


                                Exhibit "A"
7/3/2019                                               Bill Text: TX HB2730 12019-2020 186th Legislature 1Enrolled 1LegiScan
           Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                                 Page 24 of 29 PageID 3651


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Bill Text: TX HB2730 I 2019-2020 I 86th Legislature                                                                        I Enrolled
Texas House Bill 2730 (Adjourned Sine Die)
 Bill Title: Relating to civil actions involving the exercise of certain constitutional rights.

Spectrum: Slight Partisan Bill (Republican 5-2)

Status: (Passed) 2019-06-02 - Effective on 9/1/19 [HB2730 Detail]

Download: Texas-2019-HB2730-Enrolled.html




                                                                                                    H.B . No. 2730




                                                             AN ACT
            relating to civil actions involving the exercise of certain

            constitutional rights.
                      BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

                      SECTION 1.        Sections 27.001(2),            (6), and (7), Civil Practice

            and Remedies Code, are amended to read as follows:

                               (2)     "Exercise of the right of association" means .I....! [ '"

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            collectively express, promote, pursue, or defend common interests
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            conCA[!1 .

                               (6 )    "Legal action" means a lawsuit, cause of action,
            petition, complaint, cross-claim, or counterclaim or any other

            judicial pleading or filing that requests legal.                     declal ~ L ~ t~~   or
            equitable relief. The Lelm does not in clu d e :
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                                     SECTION 2.                 Section 27.003, Civil Practice and Remedies
            Code, is amended by amending Subsections (a) and (b) and adding
            Subsections (d) and (e) to read as follows:
                                      (a)        If a legal action is based on[ .                                                     te18ee~      te . ) or is in
            response to a party's exercise of the right of free speech, right to
            petition, or right of association or arises from any act of                                                                                               Lildt

            p..Q..£.ty 111 fUlch e ranc -e of tht;! part:,.!·s communication or conduct

            deSCllbeci b:' SectlOn 27.010(bt , that party may file a motion to
            dismiss the legal action. A party under chis section does not



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                                     (b)        A motion to dismiss a legal action under this section
            must be filed not later than the 60th day after the date of service
            of the legal action.                                           The           p~,----1!p on                     mutual d CJ reement ,                   melY.

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            extend the time to file a motion under this section on a showing of
            good cause.
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                                     SECTION 3.                 Sections 27.005 (a),                                     (b), and (d), Civil Practice
            and Remedies Code, are amended to read as follows:
                                     (a)        The court must rule on a motion under Section 27.003 not
            later than the 30th day following the date [&f ) the hearing on the
            motion conclu :!e s .
                                     (b)        Except as provided by Subsection (c), on the motion of a
            party under Section 27.003, a c ourt shall dismiss a legal action
            against the moving party if the moving party d OS!m.o; nstrates [sAe .. s 10)
            "      ~.e .. ""ele.""ee                     e( tJole euieleltee ) that the legal action is based on[ T
            tela~e9                    te . ) or is in response                                      t o~

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           Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                                                                         Page 26 of 29 PageID 3653
                           (d)       Notwithstanding the provisions of Subsection (c), the
            court shall dismiss a legal action against the moving party if the
            moving party establishes an affirmative defense or other grounds on
            ~'lhich       the moving_Rart'!' is entitled to judgment: as a matter of la.·!

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                           SECTION 4.              The heading to Section 27.006, Civil Practice
            and Remedies Code, is amended to read as follows:
                           Sec. 27.006.                   PF:;OF [13VIElBlIC13 ].
                           SECTION 5.              Section 27.006(a), Civil Practice and Remedies
            Code, is amended to read as follows:
                           (a)       In determining whether a legal action is subject to 01
            should be dismissed under this chapter, the court shall consider
            the pleadings , e'li d ;;:,.nce a c o ur t coul d co ns i d e r undA[ Rule                                            l'. ca ,~


            Te~as         Rules of Civil Proced ur e L and supporting and opposing
            affidavits stating the facts on which the liability or defense is
            based.
                          SECTION 6.               Section 27.007(a), Civil Practice and Remedies
            Code, is amended to read as follows:
                           (a)       If the CO llrt             awaLd~      ~a!lctions           tinder Sectloll _ ' . 00 9 h L

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            the court shall issue findings regarding whether the legal action
            was brought to deter or prevent the moving party from exercising
            c onstitutional rights and is brought for an improper purpo se,
            including to harass or to cause unnecessary delay or t o increase the
            c ost of litigation.
                          SECTI ON 7.              Chapter 27, Civil Practice and Remedies Code, is
            amended by adding Section 27.0075 to read as follows:
                          S"c . 27.0075.                   E ~' FE;T    OF RULII!G. i1eith.,r the court ' s ruling
            on the motion no r the fact that it nCl. :te such a rulin                                                    J   sholl be

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                          SECTION 8.               Section 27.009, Civil Practice and Remedies
            Code, is amended by amending Subsection (a) and adding Subsection
            (c) to read as follows :
                           (a)       E:·:cep.1....illi-R1 QV1 dE'd b y Sub sect ion                  (£.)_,.......!.l.       [H ] the court
            orders dismissal of a legal action under this chapter, the court
            [ shall       aha.~           ts the    ~S,ifi~           pdft~ ]:

                                          (1)    shall d"lard to the mO'llng_parq'. court costs and h , ]
            reasonable attorney's fees L ane! ,,!;he. eHpel'tSe, ] incurred in
            defending against the legal action [as                                        j~'tiee        ane!      eq~i",        mo)
            Hq~ire ];              and
                                          (2)    lOa:;.    a'..Ja1d    to the moving_party. sanc tions against
            the party who brought the legal action as the c ourt determines
            sufficient to deter the party who brought the legal a c ti on from
            bringing similar actions described in this chapter.
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            p'arty reasonable attolney ' s fees Incurred in clefendin g--E!.(j E1lnst the

            counterclailn if the court                 flnd~    that        t h~     COullterclalln 15 rrivolous
            or solely intended for delay....,l..

                       SECTION 9.         Section 27.010, Civil Practice and Remedies
            Code, is amended to read as follows:

                       Sec. 27.010.             EXEMPTIONS.         (a)      This chapter does not apply

            to.;.

                               J )_ an enforcement action that is brought in the name

            of this state or a political subdivision of this state by the

            attorney general, a district attorney, a criminal district

            attorney, or a county attorneyt

                               J ~ l_   h·
                       [ Ib)   ~his     ehapter does "et              eppl~          te l a legal action brought
            against a person primarily engaged in the business of selling or

            leasing goods or services, if the statement or conduct arises out of

            the sale or lease of goods, services, or an insurance product,

            insurance services, or a commercial transaction in which the

            intended audience is an actual or potential buyer or customer t

                               .f oOL   [..,.
                       [ Ie)   ~kis     ekapter daes "at appl) te l a legal action seeking
            recovery for bodily injury, wrongful death, or survival or to

            statements made regarding that legal action t

                               .I~ I-   [.,.

                       [ (dJ   9ki3 ekepte. dass               ~ot    app l ) ta l a legal action brought
            under the Insurance Code or arising out of an insurance contract t

                               j~J~gal                 a c tion arising f r om                 dl.   offi c.-;:r -d ir\?ctor ,_

            employee - emploYll, o r independ'2n t c ontra c t:. Ol                           lelati onship thdL :

                                         J .8J      seeks lec o very f o r misar'! p'[opriat.i o !! of t r a de

            secrets or corporate 0 RRortunlties; o r

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            .agreement or a C01Jenant not t o compete;.

                               J;;)~g"l               "etlon filed under Title 1,
            Family Code, or an           ap' ~ 1   ication f -::n     a p'rotective ord&::r unn er Chap...t§..h

            7p.,    Code of Criminal P r ocedurei_

                               J2)~gal                action btoughl                 Und<21      Chaptgr 17 , Bu sin'?s'3

            Commerce Code, othet than an ctction go';er:1ed by Section 1 7 , ~ 9                                            .£t
            of that     chapter;~


                               J.EJ~CJal              action in           ;·ihl.ch       a mO\'ll1:j_P..9..ll:J.   tdl. <.i eS   n

            defense Rursuant to Sect.ion 16 0 . 0 10, OCCuRdtions Code, Sectlon

            161.033 . He"lth and S"rety Code, or the Health Care Qualit\:

            Im"ro'lement Aet of 1986 (42 U.S , C. 11101 et                                  seq~).:_

                               J.:l)    an eviction suit brought under ChdptE[                                     24/~


            Prop-erty Code:.

                               Jl,QJ     d      disciplinary action or dLscipllnarz... proc e ecdn J

            brought under ChaRter 81 , GO"lernment Code,                                  or the Te:·:as Rules o f

            DisciRlinary       Procedurei~


                               Jli)~gnl                 netion brought under Chapter 554,_
            Governlnent Code ; or

https:lllegiscan.comITX/texUHB2730/2019                                                                                                                          4/6
7/3/2019                                                           Bill Text: TX HB2730 12019-2020 186th Legislature 1Enrolled 1LegiScan
           Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                                                                Page 28 of 29 PageID 3655
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            in Chapter 71,             ramil'! Code , or an offense under                          Ch d P~ ,             20 A.--f:..l.._

            o r 22,     Pe nal Coc!-= ,       bdsecl on or in response to a public or pr i'h1t -?

            communication.

                       SECTION 10 .              If any provision of this Act or its application

            to any person o r circumstance is held invalid,                                       the invalidity does

            not affect other provisions or applications of this Act that can be

            given effect without the invalid provision or application, and to

            this end the pro visions of this Act are declared to be severable.

                       SECTI ON 11.              Chapter 27, Civil Practice and Remedies Code,

            as amended by this Act, applies only to an action filed on or after

            the effective date o f this Act. An action filed before the

            effe c tive date o f this Act is governed by the law in effect

            immediately before that date, and that law is continued in effect

            for that purpo se .

                       SECTI ON 1 2 .            This Act takes effect September 1, 2019.




                President o f the Senate                                                                Sp ea ker of the Hous e




                       I certify that H. B . No . 2730 was passed by the House on April

            30, 2019, by the following vote:                               Yeas 143, Nays 1, 2 present, not

            voting .




                                                                                                  Chief Clerk of the House



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7/3/2019                                       Bill Text: TX HB2730 12019-2020 1 86th Legislature 1Enrolled 1LegiScan
           Case 3:19-cv-00764-X Document 127 Filed 07/03/19                                     Page 29 of 29 PageID 3656

                     I certify that H.B. No . 2730 was passed by the Senate on May

            17, 2019, by the following vote:         Yeas 31, Nays O.




                                                                      Secretary of the Senate

            APPROVED:

                                    Date




                                 Go v e rnor




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